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                              UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

NETLIST, INC.,                                 )
                                               )
               Plaintiff,                      )
                                               )      Case No. 2:22-cv-293-JRG
        vs.                                    )
                                               )      JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;                   )      (Lead Case)
SAMSUNG ELECTRONICS AMERICA,                   )
INC.; SAMSUNG SEMICONDUCTOR                    )
INC.,                                          )
                                               )
               Defendants.                     )


          NETLIST INC.’S NOTICE OF SUPPLEMENTAL AUTHORITY
        HOLDING THE ’608 PATENT NOT INVALID BEFORE THE PATENT
                        TRIAL AND APPEAL BOARD

       Netlist submits this Notice of Supplemental Authority to inform the Court that the Patent

Trial and Appeal Board (PTAB) has issued a final written decision finding no challenged claims of

U.S. Patent No. 10,268,608 (’608 Patent) unpatentable. For completeness of the record, Netlist hereby

attaches a copy of the Final Written Decision as Exhibit 1 (December 10, 2024 Final Written Decision

in IPR2023-00847). The PTAB previously declined to institute inter partes review of the ‘608 Patent in

IPR2022-00237. Exhibit 2 (September 16, 2022 Decision denying Institution in IPR2022-00237).



Dated: December 10, 2024                           Respectfully submitted,

                                                   /s/ Jason Sheasby

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on December 10, 2024 a copy of the foregoing was served to all counsel

of record via the Court’s ECF System.

                                                     /s/ Jason Sheasby
                                                     Jason Sheasby




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